Case 9:20-Ccr-00040-JA-PRL Document 41 Filed 10/20/20 Page 1 of 1 PagelD 98

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(8/88) =
United States District Court se)
for the =
Middle District of Florida .

U.S.A. vs Christina Lynn Catalano Docket No. 5:20-cr-40-OC-28PRL

TO: 'Any United States Marshal or any agent of the FBI

 

WARRANT FOR ARREST OF DEFENDANT

 

You are hereby commanded to arrest the within-named defendant and bring him or her,
forthwith before the United States District Court to answer charges that he or she violated the
conditions of his or her pretrial release imposed by the Court.

NAME OF DEFENDANT SEX RACE AGE
Christina Lynn Catalano Female White 38

 

 

 

 

 

ADDRESS(STREET, CITY, STATE)
4234 Westwood Drive, Holiday, FL 34691 727-937-3336 (Home Phone) / 727-238-2257 (Cell Phone)

 

TO BE BROUGHT BEFORE (NAME OF COURT, CITY, STATES)
Middle District of Florida

207 N.W. Second St., Ocala, FL 34475

 

CLERK (BY) DEPUTY CLERK DATE

ELIZABETH M. WARREN Alastor 16/7/20

 

 

 

 

 

 

 

 

 

RETURN Sy |
WARRANT RECEIVED AND EXECUTED | DATE RECEIVED. DATE EXECUTED
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if i 7

EXECUTING AGENCY (NAME AND ADDRESS)

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NAME (BY) DATE

 

 

 

 

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Insert designation of officer to whom the warrant is issued, e.g., "any United States Marshal or any other authorized officer:" or "United States
Marshal for the <dist name>," or “any United States Marshal; or "Any Special Agent of the Federal Bureau of Investigation;” or "any United
States Marshal or any Special Agent of the Federal Bureau of Investigation," or “any agent of the Alcohol Tax Unit."

 

 
